Case 1:18-cv-21703-JEM Document 22 Entered on FLSD Docket 06/08/2018 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

   SERGIO ESPINOSA

          Plaintiff,

   vs.
                                                    CASE NO.: 1:18-cv-21703-JEM
   FIRST CONTACT, LLC, IENERGIZER,
   INC., CONVERNGENT OUTSOURCING,
   INC., AND EGS FINANCIAL CARE, INC.

          Defendants.

                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                          AGAINST DEFENDANT IENERGIZER, INC.

         Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff,

  Sergio Espinosa, by and through his undersigned counsel, hereby gives notice that the above-

  captioned action is voluntarily dismissed, without prejudice, against the Defendant,

  IENERGIZER, INC. only.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed via the

  Court’s CM/ECF system this June 8, 2018, to all parties of record.

                                              Respectfully submitted,

                                                /s/ Heather H. Jones
                                                 Heather H. Jones, Esquire
                                                 Florida Bar No.: 0118974
                                                 William Peerce Howard, Esq.
                                                 Florida Bar No.: 0103330
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